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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                       Case No.:
                                   ---------------
    GREEN TREE SERVICING, LLC                        )
        Plaintiff,                                   )               NOTICE OF REMOVAL
                                                     )               (Diversity-28 US.C. 1332)
    vs.                                              )
                                                     )
    MARC WEINBERGER, et. al                          )
        Defendant.                                   )

                                      NOTICE OF REMOVAL

            1. This action was commenced in the 17th Judicial Circuit in and for Broward

    County, Florida, entitled Green Tree Servicing, LLC (hereinafter "Green Tree"), Plaintiff,

    vs. Marc Weinberger, et. al., Defendant, under case number CACE 14-004643. A copy

    of the state court complaint reflecting the "amount in controversy" on its face is attached

    hereto as Exhibit A.

            2. A copy of the processes, pleadings, and orders served upon defendant in the state

    court action are attached hereto as "Exhibit B ".

            3. This is a civil action of which this Court has original jurisdiction under 28 U.S.C.

    §1332 - Diversity Jurisdiction; and is one which may be removed to this Court by

    defendant pursuant to the provisions of 28 U.S.C. §1441(b) in that it is a civil action

    between citizens of different states.

            4. Defendant is informed and believes that plaintiff, Green Tree, was, at the time

    it filed the state court action, and still is, a corporation, incorporated in the State of Arizona

    and/or maintains its principle place ofbusiness in Tempe, Arizona. Additionally, all named




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    Defendants, including myself, Marc Weinberger were all, at the time Green Tree filed the

    state court action, and still are, citizens of Florida.

            5. In this case it is alleged that a business entity Plaintiff, Green Tree acted

    without authority when it opposed Defendant's May 9, 2022 Objection to Sale that was

    filed   in a Florida State Court knowing that the State Court lacked subject-matter

    jurisdiction as stipulated in, 28 U.S.C.1332(b) Diversity of Citizenship. A copy of

    Defendant's May 9, 2022 Objection to Sale and Plaintiff's May 18, 2022

    opposition to same, are attached hereto.

            6. Clearly, Plaintiff's current principal place of business is in Tempe, Arizona.

    Thus Plaintiff is not, and never was a citizen of the State of Florida, while all of the named

    defendants are citizens of the State of Florida, which constitutes Diversity of Citizenship.

            WHEREFORE,           Defendant Marc         Weinberger,   respectfully request that

    Defendant's May 9, 2022 Objection to Sale and Plaintiff's May 18, 2022 Response to same,

    now pending in the Circuit Court for the Seventeenth Judicial Circuit in and for Broward

    County, Florida, be removed to this United States District Court for the Southern District




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